  Fill in this information to identify the case:
  Debtor 1     RAYMOND C. LEWIS

  Debtor 2      VERNA LEWIS
  (Spouse, if filing)

  United States Bankruptcy Court for the: Middle District of Pennsylvania

  Case number 5:18-bk-00102-MJC




 Form 4100R
 Response to Notice of Final Cure Payment                                                                                           10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


  Part 1:    Mortgage Information

  Name of Creditor: Deutsche Bank National Trust Company, as Trustee for Argent Securities                     Court claim no. (if known):
 Inc., Asset-Backed Pass-Through Certificates, Series 2004-W3                                                  19
  Last 4 digits of any number you use to identify the debtor’s account: 3996

  Property address:          127 Knob Ln
                             Number Street
                             Shawnee on Delaware, PA 18356
                             City     State    ZIP Code


  Part 2:    Prepetition Default Payments

  Check one:
     Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim.
     Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
     on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date
     of this response is:
     **Per the order on the 3rd modified plan, POC arrears will not be paid duing the Bankruptcy but will be
     recoverable post BK***                                                                                            $ 2,204.45


  Part 3:    Postpetition Mortgage Payment

  Check one:

     Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
     the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      The next postpetition payment from the debtor(s) is due on: __________
                                                                            MM/DD/YYYY


     Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

      Creditor asserts that the total amount remaining unpaid as of the date of this response is:

      a. Total postpetition ongoing payments due: 3/1/23 payment 1588.69+4/1/23 1588.69+ 5/1/23 1588.69+               (a) $ 6,314.14
      6/1/2023 1588.69- (440.62) suspense

      b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +(b) $ 0.00

      c. Total. Add lines a and b.                                                                                     (c) $ 6,314.14

       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                  03/01/2023
       due on:                                                                        MM/DD/YYYY




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 Debtor1     RAYMOND C. LEWIS                                                                  Case number (if known) 5:18-bk-00102-MJC
                First         Middle                Last



Part 4:     Itemized Payment History


 If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
 debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
 the creditor must attach an itemized payment history disclosing the following amounts from the date of the
 bankruptcy filing through the date of this response:
  all payments received;
  all fees, costs, escrow, and expenses assessed to the mortgage; and
  all amounts the creditor contends remain unpaid.




Part 5:     Sign Here


 The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
 proof of claim.

 Check the appropriate box::
     I am the creditor.
     I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.
Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.


           /s/Mario Hanyon
                 Signature
                                                                                             Date 06/14/2023



Print            Mario Hanyon                                                           _        Title   Attorney                         _
                 First Name                     Middle Name      Last Name




Company          Brock & Scott, PLLC                                                    _



If different from the notice address listed on the proof of claim to which this response applies:



Address          3825 Forrestgate Dr._
                 Number                Street



                 Winston-Salem, NC 27103
                 City                                            State            ZIP Code


Contact phone    844-856-6646 Email P A B K R @ b r o c k a n d sc o t t. c o m




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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                      Wilkes-Barre Division


 IN RE:
 RAYMOND C. LEWIS AND VERNA LEWIS                      Case No. 5:18-bk-00102-MJC
                                                       Chapter 13
 Deutsche Bank National Trust Company, as Trustee
 for Argent Securities Inc., Asset-Backed Pass-
 Through Certificates, Series 2004-W3,
        Movant

 vs.

 RAYMOND C. LEWIS AND VERNA LEWIS,
     Debtors




                                        CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that a true and exact copy of the foregoing Response to Notice of
Final Cure Payment has been electronically served or mailed, postage prepaid on this day to the following:

Via Electronic Notice:

Patrick James Best, Debtor's Attorney
18 North 8th Street
Stroudsburg, PA 18360
patrick@armlawyers.com


Jack N Zaharopoulos, Bankruptcy Trustee
Standing Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee, US Trustee
228 Walnut Street, Suite 1190
Harrisburg, PA 17101


Via First Class Mail:

RAYMOND C. LEWIS
P.O. BOX 387
SHAWNEE ON DELAWARE, PA 18356-0387


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VERNA LEWIS
P.O. BOX 387
SHAWNEE ON DELAWARE, PA 18356-0387



Date: June 14, 2023
                                   /s/Mario Hanyon
                                   Andrew Spivack, PA Bar No. 84439
                                   Matt Fissel, PA Bar No. 314567
                                   Mario Hanyon, PA Bar No. 203993
                                   Ryan Starks, PA Bar No. 330002
                                   Jay Jones, PA Bar No. 86657
                                   Attorney for Creditor
                                   BROCK & SCOTT, PLLC
                                   3825 Forrestgate Drive
                                   Winston Salem, NC 27103
                                   Telephone: (844) 856-6646
                                   Facsimile: (704) 369-0760
                                   E-Mail: PABKR@brockandscott.com




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                      UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                     :
In re:                               :  Chapter 13
                                     :
Raymond C. Lewis,                    :  Case No. 5:18-bk-00102-MJC
Verna Lewis,                         :
             Debtors.                :

:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                          ORDER APPROVING MOTION TO MODIFY
                             CONFIRMED CHAPTER 13 PLAN

          Upon consideration of the Motion to Modify Confirmed Chapter 13 Plan

filed on March 15, 2023, Dkt. #66 ("Motion"), and the Debtors having certified

that Notice was sent to all creditors                and     parties   in     interest    entitled   to     receive

notice,    it    is hereby ORDERED               that      the   Motion        is     GRANTED             and   the

Debtors'        Amended Plan          filed in conjunction             with     the      Motion      is     hereby

approved        and   shall    be ADOPTED as the Confirmed Chapter 13 Plan, as Modified.




                                                                 By the Court,



                                                                 _____________________________
                                                                 Mark J. Conway, Bankruptcy Judge
                                                                 Dated: May 5, 2023




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                                        72 Filed 06/14/23
                                                 05/05/23 Entered 06/14/23
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                                                   Notice Recipients
District/Off: 0314−5                         User: AutoDocketer        Date Created: 5/5/2023
Case: 5:18−bk−00102−MJC                      Form ID: pdf010           Total: 1


Recipients of Notice of Electronic Filing:
aty         Patrick James Best         patrick@armlawyers.com
                                                                                                TOTAL: 1




    Case
     Case5:18-bk-00102-MJC
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Name:
BK Case Number:                              pre & post
Filing Date:
Post-Petition Due          Date Received     Amount Received         Amount Applied     Suspense Application Suspense Balance
                                                                                                                                $0.00
               1/1/2018           2/7/2018                1,529.00          $1,410.68                $118.32                 $118.32
               2/1/2018          3/14/2018                1,600.00          $1,410.68                $189.32                 $307.64
               3/1/2018          3/22/2018                1,500.00          $1,410.68                 $89.32                 $396.96
               4/1/2018          5/15/2018                1,487.00          $1,410.68                 $76.32                 $473.28
               5/1/2018          7/10/2018                     960          $1,410.68               -$450.68                   $22.60
               6/1/2018           9/6/2018                1,410.68          $1,410.68                  $0.00                   $22.60
               7/1/2018         10/17/2018                1,447.46          $1,410.68                 $36.78                   $59.38
               8/1/2018         11/15/2018                1,410.68          $1,410.68                  $0.00                   $59.38
               9/1/2018          1/10/2019                1,447.64          $1,410.68                 $36.96                   $96.34
              10/1/2018           4/5/2019                6,000.00          $1,447.46              $4,552.54                $4,648.88
              11/1/2018                                                     $1,447.46             -$1,447.46                $3,201.42
              12/1/2018                                                     $1,447.64             -$1,447.64                $1,753.78
               1/1/2019                                                     $1,447.64             -$1,447.64                 $306.14
               2/1/2019          5/13/2019                1,500.00          $1,447.64                 $52.36                 $358.50
                                 5/22/2019                     500                                   $500.00                 $858.50
                3/1/2019       7/12/2019                   1495.00          $1,447.64                 $47.36                 $905.86
                4/1/2019       7/15/2019                   1447.64          $1,447.64                  $0.00                 $905.86
                5/1/2019       8/20/2019                   1447.64          $1,447.64                  $0.00                 $905.86
                6/1/2019       9/12/2019                   1447.64          $1,447.64                  $0.00                 $905.86
                7/1/2019      10/10/2019                   1447.64          $1,447.64                  $0.00                 $905.86
escrow                        11/19/2019                     24.99             $24.99                  $0.00                 $905.86
                8/1/2019      11/21/2019                   1447.64          $1,447.64                  $0.00                 $905.86
                9/1/2019      12/12/2019                   1447.64          $1,447.64                  $0.00                 $905.86
                               1/27/2020                     16.76                                    $16.76                 $922.62
              10/1/2019        1/30/2020                   1447.64          $1,486.81                -$39.17                 $883.45
              11/1/2019        2/10/2020                   1486.81          $1,486.81                  $0.00                 $883.45
              12/1/2019        3/18/2020                   1486.81          $1,486.81                  $0.00                 $883.45
                               3/19/2020                     33.50                                    $33.50                 $916.95
                1/1/2020       4/15/2020                   1486.81          $1,486.81                  $0.00                 $916.95



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            4/20/2020             16.75                           $16.75                 $933.70
            5/14/2020             16.17                           $16.17                 $949.87
 2/1/2020   5/26/2020           1486.81       $1,486.81            $0.00                 $949.87
 3/1/2020   6/24/2020           1486.81       $1,486.81            $0.00                 $949.87
 4/1/2020   7/15/2020           1486.81       $1,486.81            $0.00                 $949.87
 5/1/2020   8/19/2020           1486.81       $1,486.81            $0.00                 $949.87
 6/1/2020   9/16/2020           1486.81       $1,486.81            $0.00                 $949.87
            9/24/2020             32.32                           $32.32                 $982.19
 7/1/2020   10/15/2020          1486.81       $1,486.81            $0.00                 $982.19
            10/23/2020            16.16                           $16.16                 $998.35
            11/16/2020            16.15                           $16.15                $1,014.50
 8/1/2020   11/18/2020          1486.81       $1,486.81            $0.00                $1,014.50
            12/16/2020            16.34                           $16.34                $1,030.84
 9/1/2020   12/21/2020          1486.81       $1,486.81            $0.00                $1,030.84
10/1/2020   1/28/2021           1486.81   $   1,550.60           -$63.79                 $967.05
             2/1/2021             63.79                           $63.79                $1,030.84
             2/1/2021             56.51                           $56.51                $1,087.35
 11/01/20   2/23/2021           1550.60   $   1,550.60             $0.00                $1,087.35
            2/25/2021             16.34                           $16.34                $1,103.69
 12/01/20   3/15/2021           1550.60   $   1,550.60             $0.00                $1,103.69
            3/26/2021             16.35                           $16.35                $1,120.04
 01/01/21    4/9/2021           1550.60   $   1,550.60             $0.00                $1,120.04
            4/23/2021             16.33                           $16.33                $1,136.37
 02/01/21    5/7/2021           1550.60   $   1,550.60             $0.00                $1,136.37
            5/28/2021             16.34                           $16.34                $1,152.71
 03/01/21   6/10/2021           1550.60   $   1,550.60             $0.00                $1,152.71
            6/25/2021             16.87                           $16.87                $1,169.58
 04/01/21    7/9/2021           1550.60   $   1,550.60             $0.00                $1,169.58
            7/21/2021             16.89                           $16.89                $1,186.47
 05/01/21   8/11/2021           1550.60   $   1,550.60             $0.00                $1,186.47
            8/24/2021             16.87                           $16.87                $1,203.34
 06/01/21    9/9/2021           1550.60   $   1,550.60             $0.00                $1,203.34
            9/24/2021             16.87                           $16.87                $1,220.21
 07/01/21   10/14/2021          1550.60   $   1,550.60             $0.00                $1,220.21



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           10/22/2021            16.89                           $16.89                $1,237.10
08/01/21   11/23/2021          1550.60   $   1,550.60             $0.00                $1,237.10
           11/24/2021            16.39                           $16.39                $1,253.49
09/01/21   12/14/2021          1550.60   $   1,550.60             $0.00                $1,253.49
           12/22/2021            16.39                           $16.39                $1,269.88
10/01/21   1/21/2022           1549.00   $   1,548.56             $0.44                $1,270.32
           1/26/2022             16.40                           $16.40                $1,286.72
11/01/21   2/10/2022           1548.56   $   1,548.56             $0.00                $1,286.72
           2/24/2022             16.39                           $16.39                $1,303.11
12/01/21   3/11/2022           1548.56   $   1,548.56             $0.00                $1,303.11
           4/19/2022             16.39                           $16.39                $1,319.50
01/01/22   4/21/2022           1548.56   $   1,548.56             $0.00                $1,319.50
02/01/22   5/13/2022           1548.56   $   1,548.56             $0.00                $1,319.50
           5/23/2022             16.39                           $16.39                $1,335.89
03/01/22   6/14/2022           1548.56   $   1,548.56             $0.00                $1,335.89
           6/21/2022             16.40                           $16.40                $1,352.29
04/01/22    7/8/2022           1548.56   $   1,548.56             $0.00                $1,352.29
           7/21/2022             16.39                           $16.39                $1,368.68
05/01/22   8/16/2022           1548.56   $   1,548.56             $0.00                $1,368.68
           8/24/2022             17.61                           $17.61                $1,386.29
06/01/22   9/14/2022           1548.56   $   1,548.56             $0.00                $1,386.29
           9/21/2022             17.62                           $17.62                $1,403.91
07/01/22   10/13/2022          1548.56   $   1,548.56             $0.00                $1,403.91
           11/1/2022             17.61                           $17.61                $1,421.52
08/01/22   11/15/2022          1548.56 $     1,548.56             $0.00                $1,421.52
09/01/22   12/13/2022          1548.56 $     1,548.56             $0.00                $1,421.52
           12/14/2022            16.70                           $16.70                $1,438.22
10/01/22   1/19/2023           1588.69   $   1,588.69             $0.00                $1,438.22
           1/30/2023             16.70                           $16.70                $1,454.92
11/01/22   2/14/2023           1588.69   $   1,588.69             $0.00                $1,454.92
            3/3/2023             16.70                           $16.70                $1,471.62
12/01/22   3/13/2023           1588.69 $     1,588.69             $0.00                $1,471.62
01/01/23    5/8/2023           1588.69 $     1,588.69             $0.00                $1,471.62
02/01/23   5/23/2023           1588.69 $     1,588.69             $0.00                $1,471.62



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mfr atty fees/costs                                    $      1,031.00         -$1,031.00               $440.62


Post petition due
                 3/1/2023     $1,588.69
                 4/1/2023     $1,588.69
                 5/1/2023     $1,588.69
                 6/1/2023     $1,588.69




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